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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
PHYLLIS N. WILLIAMS-YOUNG,
Plaintiff,
V. Case No. 3:20-cv-432-J-39PDB
SEQUIUM ASSET SOLUTIONS, LLC,

Defendant.
/

ORDER OF DISMISSAL

This matter is before the Court on the Notice of Voluntary Dismissal (Doc. 9;
Notice) filed by Plaintiff on September 14, 2020. In the Notice, Plaintiff states that she is
voluntarily dismissing the claims raised in this action. See Notice at 1. Upon review of
the docket, the Court notes that Defendant has neither served an answer nor a motion
for summary judgment. Accordingly, pursuant to Rule 41(a)(1)(A)(i), Federal Rules of
Civil Procedure, it is hereby ORDERED:

1. This case is DISMISSED with prejudice.

2. The Clerk of the Court is directed to close the file.

»
DONE and ORDERED in Jacksonville, Florida this (1 day of September, 2020.

BRIAN J. DAVIS
United States District Judge
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Copies to:

Counsel of Record
